                Case 23-11131-TMH               Doc 497        Filed 10/10/23        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)

                                                                        Re: Docket No. 19

    NOTICE OF HEARING REGARDING RULING ON MOTION OF THE DEBTORS
      FOR INTERIM AND FINAL ORDERS (I) AUTHORIZING DEBTORS (A) TO
         OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE CASH
    COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO PREPETITION
        SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY, (IV)
     SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF


                   THE HEARING WILL BE CONDUCTED VIA ZOOM ONLY.

                 Please see below for the connection and registration information.
     Please Note: All individuals participating by video must register at least 2 hours prior to
      the hearing at the provided link. After registering your appearance by Zoom, you will
       receive a confirmation email containing information about joining the hearing. You
                    must use your full name when registering and logging into
                       Zoom or you will not be granted access to the hearing.

                                                Registration Link:

     https://debuscourts.zoomgov.com/meeting/register/vJIsdOmvqD4oGuW3f9-X3OZwU-yvBTlUUuo

         PLEASE NOTE: COURTCALL WILL NOT BE USED FOR THIS HEARING.



                  PLEASE TAKE NOTICE that on August 10, 2023, the debtors and debtors in

possession (collectively, the “Debtors”) filed the Motion of the Debtors for Interim and Final


1        A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.



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                Case 23-11131-TMH       Doc 497     Filed 10/10/23    Page 2 of 2




Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the

Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (the “DIP

Motion”) [Docket No. 19].

                 PLEASE TAKE FURTHER NOTICE that a hearing has been scheduled for

October 11, 2023 at 12:30 p.m. prevailing Eastern Time before the Honorable Thomas M.

Horan, United States Bankruptcy Judge via Zoom at which time the Court will issue its ruling on

the DIP Motion.


 Dated: October 10, 2023                         PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
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                                                 Counsel to the Debtors and Debtors-in-Possession




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